Case 2:18-cv-07330-DDP-GJS Document 1-2 Filed 08/21/18 Page 1 of 4 Page ID #:13




                            Exhibit B
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  Summary
           Description English: Jerry Lee Lewis performs in Memphis, April 30, 2011
                    Date 30 April 2011, 19:11:35
                 Source Own work
                 Author Larry Philpot

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                                                                       08/21/18
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             Exposure time               1/250 sec (0.004)
               F-number                  f/2.8
            ISO speed rating             100
    Date and time of data generation     19:11, 30 April 2011
            Lens focal length            148 mm


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